                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


UNITED STATES OF AMERICA                  )
                                          )
      v.                                  )                1:06CR474-1
                                          )
                                          )
RODNEY ANTON WILLIAMSON                   )

                       MEMORANDUM OPINION AND ORDER

      This matter is before the Court on Defendant Rodney Anton Williamson’s pro

se Motion to Reconsider, Pursuant to Rule 59(e) [Doc. #403] and Motion to Amend

Motion to Reconsider, Pursuant to Rule 59(e) [Doc. #404]. For the reasons

explained below, the Motion to Amend is granted 1 and the Motion to Reconsider is

denied.

      Williamson asks for reconsideration of the Court’s May 24, 2021

Memorandum Order [Doc. #402] and requests appointment of counsel to assist.

As an initial matter, for the reasons explained in the May 24, 2021 Memorandum

Order, Williamson’s request for counsel is again denied. 2 (See Mem. Order at 2-3.)

In support of reconsideration, Williamson challenges the Court’s prior explanation

affirming the two-point enhancement for his role as a manager or supervisor. He

argues the analysis is insufficient for appellate review according to United States v.




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  In his motion to amend, Williamson requests to add two pages of the
Government’s trial brief in further support of his motion to reconsider.
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  It is also noted that Williamson has effectively advocated for himself throughout
the pendency of his motions related to 18 U.S.C. § 3582(c)(1)(A)(i).




          Case 1:06-cr-00474-NCT Document 405 Filed 07/22/21 Page 1 of 12
Burnley, 988 F.3d 184 (4th Cir. 2021), and erroneously relies on the offense

conduct described in the Presentence Report which Williamson contends came

directly from the Government’s trial brief and contained evidence not ultimately

presented at trial. He also disputes the sufficiency and outcome of the Court’s

assessment of his sentencing objections, the jury’s finding that Williamson was

accountable for more than 400 kilograms of cocaine hydrochloride, and reliance on

the testimony of government witnesses.

       The Court has reviewed its orders addressing Williamson’s motions pursuant

to 18 U.S.C. § 3582(c)(1)(A)(i), the bases in support of the previous findings that

Williamson has not shown extraordinary and compelling reasons for relief, his most

recent arguments for reconsideration, the Presentence Report, and the trial

transcript. This renewed assessment does not change the Court’s previous

determinations that Williamson was appropriately enhanced as a manager or

supervisor of at least one person, the evidence supports the jury’s finding that he

is guilty and responsible for more than 400 kilograms of cocaine, and, other than

the fact that he is no longer a career offender or subject to the statutory

enhancement, his sentencing objections do not change the outcome. Moreover,

Williamson has still not met his burden of showing an extraordinary and compelling

reason for relief.

       First, when determining the propriety of an enhancement under § 3B1.1 of

the United States Sentencing Guidelines, Courts “must consider seven factors”:




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       Case 1:06-cr-00474-NCT Document 405 Filed 07/22/21 Page 2 of 12
      [1] the exercise of decision making authority, [2] the nature of
      participation in the commission of the offense, [3] the recruitment of
      accomplices, [4] the claimed right to a larger share of the fruits of the
      crime, [5] the degree of participation in planning or organizing the
      offense, [6] the nature and scope of the illegal activity, and [7] the
      degree of control and authority exercised over others.

Burnley, 988 F.3d at 188 (alterations in original) (quoting United States v.

Cameron, 573 F.3d 179, 184 (4th Cir. 2009)). As the Burnley court explained,

the enhancement is appropriate where, for example, “defendants directed

organized drug trafficking by managing and advising street-level dealers, setting

prices and payment terms, and arranging acquisition and delivery logistics.” Id. On

the other hand, the enhancement does not apply “even though the defendant was

a mid- to upper-level member of the trafficking ring, selling drugs to his own

clientele and to other members of the conspiracy who, in turn, sold drugs to their

clientele” or when “a co-conspirator was responsible for chauffeuring the

defendant to his buyers, and various co-conspirators sold drugs for him”. Id.

(internal quotations omitted) (citing cases).

      At trial, Christopher Swaney, whom Williamson described as “his right-hand

man”, testified that he and Williamson recruited people, namely “Ricky”3, Eddie

Alberty, and “Ray” (the latter only known to Williamson), to drive the stash

vehicles, return the proceeds of the drug sales to Texas and New York, and

transport cocaine back to Swaney and Williamson, work for which these recruits




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 Ricky died before trial. (Trial Tr. Aug. 16, 2007 119:1-8, 165:18-21 [Doc.
#226].)
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       Case 1:06-cr-00474-NCT Document 405 Filed 07/22/21 Page 3 of 12
were paid. (Trial Tr. Aug. 15, 2007 29:14-30:20 [Doc. #225]; Trial Tr. Aug. 16,

2007 93:6-21 [Doc. #226].) Ricky worked for both Swaney and Williamson, but

Williamson used him more than Swaney did. (Trial Tr. Aug. 16, 2007 53:1-14.)

Swaney also testified about a trip that Ricky and Williamson made from Raleigh,

North Carolina to New York in May 2006 where they were to acquire cocaine

arriving from the Virgin Islands. Because Ricky was a native New Yorker, he was

to serve as Williamson’s navigator and driver through the city. After they picked

up Michael Sealy from the airport, Williamson sent Sealy “to make a 10-kilo drop

upon some individuals” in the area. (Id. at 54:23-56:5.)

      Williamson also sent Ricky to the airport to pick up Louis Rabsett and Lance

Thomas from the Virgin Islands, the latter of whom Williamson was courting as a

supplier. (Id. at 117:11-20, 118:19-119:10.) When Rabsett was asked if

Williamson gave him money to facilitate communication with Thomas, he testified

that Williamson helped him out by giving him money. (Id. at 120:9-18.) Rabsett

also understood that the cell phone Thomas eventually used in the Virgin Islands to

communicate with Williamson was given to him by Ricky. (Id. at 122:11-19.)

      Glenson Isaac testified that in 2004-2005 he fronted Williamson the

$20,000 per kilogram cost of cocaine from the Virgin Islands. A week later,

Williamson’s friend Toriana Cave would pay Isaac the $200,000 Williamson owed,

and Isaac would then send $180,000 of that payment to the Virgin Islands. Isaac

and Williamson had two or three more transactions that operated similarly;




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       Case 1:06-cr-00474-NCT Document 405 Filed 07/22/21 Page 4 of 12
Williamson would be fronted the cost of the cocaine and Cave would make the

payment for Williamson. (Id. 84:9-87:22.)

      The Burnley factors weigh in support of applying the two-point enhancement

for managing or supervising at least one person. This was an international

conspiracy to distribute cocaine from the Virgin Islands and Mexico to Texas,

North Carolina, and New York with Williamson’s participation part of the key to its

success. He exercised decision-making authority, a high degree of participation in

planning and organizing the conspiracy, and control and authority over others when

he recruited Ricky, Ray, and Alberty to transport drug sale proceeds and cocaine to

and from Texas and New York, entrusted and directed Cave to settle his $200,000

debt with Isaac on several occasions, directed Ricky to help establish a relationship

between Williamson, Rabsett, and Thomas to source cocaine from the Virgin

Islands and to facilitate Sealy’s sale of cocaine in New York, sent Sealy to make a

10-kilo drop in New York, and developed Thomas as a source in the Virgin Islands.

      Next, Williamson continues to challenge the drug amount that the jury

attributed to him and now also contends that the Court “has an obligation to carry

out a more precise review of the testimony of the government witnesses” because

their testimony may “have been altered or affected by the January 29, 2007

recording.” He further argues that “the government witnesses’ trial testimony

alone contributed to the trial jury accountable drug weight of more than 400

kilograms of cocaine hydrochloride” yet “[t]here was no evidence presented at trial

that [he] physically possessed any drugs or money” and “[t]here has been no

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       Case 1:06-cr-00474-NCT Document 405 Filed 07/22/21 Page 5 of 12
determination if the government witnesses’ testimony is not a derivative of the

January 29, 2007 recording.” First, the government was not required to prove

that Williamson “physically possessed any drugs or money.” Next, Swaney, Isaac,

and Sealy testified about the amount of cocaine purchased or sold by Williamson

and Swaney as part of the conspiracy, and this testimony supports the jury’s

finding. (See Trial Tr. Aug. 15, 2007 33:2-34:2, 35:1-37:2; Trial Tr. Aug. 16,

2007 55:10-56:9, 84:9-87:22, 130:1-131:23, 138:9-140:21.) Furthermore,

Williamson’s counsel had an opportunity to – and did – cross-examine each of the

Government’s witnesses.

      In addition to the sentencing objections filed by Williamson’s counsel and

addressed in the Court’s prior order, (see Mem. Order at 3-6 [Doc. #402]),

Williamson, on his own behalf at his sentencing hearing, had questions about the

use of a confidential informant’s statements in the Presentence Report who did not

testify at trial because he died beforehand, (Sentencing Tr. 2:9-3:7 [Doc. #229]).

Because Williamson faced a life sentence at the time, it was determined that

resolution of those questions would make no difference. (Id. at 4:7-23.)

Williamson now contends the inclusion of those statements in his Presentence

Report [Doc. #362] must be addressed. Comparing references to the confidential

informant (“CI-1”) in the Presentence Report to the trial testimony, it is apparent

that CI-1 was “Ricky”. Although he was not present to testify because of his

death, several witnesses testified about his participation, and those witnesses

were subject to cross-examination by Williamson’s counsel. In addition, comparing

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       Case 1:06-cr-00474-NCT Document 405 Filed 07/22/21 Page 6 of 12
references in the Presentence Report to a second confidential informant (“CI-2”), it

is apparent that he was a witness who testified at trial and was subject to cross-

examination. The Court heard the evidence presented at trial and, as noted in the

prior order, found it credible and sufficient to support the jury’s finding of guilt and

the drug amount attributed to Williamson, (see Mem. Order at 4).

      Moreover, Williamson moves for relief under 18 U.S.C. § 3582(c)(1)(A)(i) for

extraordinary and compelling reasons. But, as explained in the Court’s previous

orders, he has not met his burden of showing that they exist here, even

considering that he no longer qualifies as a career offender or for a statutory

enhancement. By way of comparison, a review of the defendants in United States

v. McCoy, 981 F.3d 271 (4th Cir. 2020), and their circumstances illustrates why.

      Thomas McCoy was nineteen years old and only had one prior conviction –

for reckless driving resulting in a $120 fine – at the time he committed the

robberies and violations of 18 U.S.C. § 924(c) for which he was incarcerated. Id.

at 277. Under the law at the time of his sentencing, § 924(c) permitted sentence-

stacking which subjected McCoy to a mandatory thirty-two-year sentence

consecutive to the sentence imposed for the robberies. Id. He had served over

seventeen years of his thirty-five-year (421-month) sentence when he moved for

compassionate release based on the First Step Act’s elimination of sentence-

stacking in § 924(c). Id. If he were sentenced under the First Step Act, his

sentence would be less than half what it was, “a disparity of over 200 months.”

Id. at 278. The district court found that disparity, along with McCoy’s age at the

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       Case 1:06-cr-00474-NCT Document 405 Filed 07/22/21 Page 7 of 12
time of the offense and lack of relevant criminal history, made “the recidivist

penalties of ‘stacked’ sentences particularly inappropriate.” Id. And, while in

custody, McCoy had “many educational and vocational achievements” and made

“payments of nearly $10,000 towards a $38,209 restitution order shared among

seven co-defendants.” Id. Thus, after “an individualized application” of the factors

from 18 U.S.C. § 3553(a), the district court found compassionate release

appropriate.

      Keith Bryant, Kittrell Decator, and Craig Scott were also convicted of

robberies and § 924(c) violations and subject to sentence-stacking which resulted

in a mandatory minimum sentence in each case of forty-five years consecutive to

the robbery sentence. Id. The defendants were between twenty-two and twenty-

four years old at the time of their offenses; Decator and Scott had no criminal

history; and Bryant had one minor prior conviction and served no jail time. Id. Each

of them was sentenced to fifty-two to fifty-three years in prison. Id. After they

had served approximately twenty-five years in prison, each defendant moved for

compassionate release based on their rehabilitation and the change to § 924(c). Id.

at 278-79. Were Bryant, Decator, and Scott sentenced under the First Step Act,

each of their sentences would have been thirty years less than their original

sentences. Id. at 279. In granting their motions, the district court “took into

account [each of] the defendant’s youth and minimal criminal history at the time of

his offenses; his post-sentencing conduct and rehabilitation; and the fact that

continued incarceration would be disproportionate to both ‘the seriousness of the

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       Case 1:06-cr-00474-NCT Document 405 Filed 07/22/21 Page 8 of 12
offense and to what Congress now deems appropriate for this kind of conduct.’”

Id.

      The Fourth Circuit Court of Appeals affirmed. As it explained, “[t]he First

Step Act’s clarification of § 924(c) resulted in not just any sentencing change, but

an exceptionally dramatic one.” Id. at 285. The court found

      that the district courts permissibly treated as ‘extraordinary and
      compelling reasons’ for compassionate release the severity of the
      defendants’ § 924(c) sentences and the extent of the disparity
      between the defendants’ sentences and those provided for under the
      First Step Act. [It] emphasize[d], as did the district courts, that these
      judgments were the product of individualized assessments of each
      defendant’s sentence. And [the court] note[d] that in granting
      compassionate release, the district courts relied not only on the
      defendants’ § 924(c) sentences but on full consideration of the
      defendant’s individual circumstances. In particular, in determining
      that release was appropriate for all of the defendants, the courts
      focused on the defendants’ relative youth – from 19 to 24 years old –
      at the time of their offenses, a factor that many courts have found
      relevant under § 3582(c)(1)(A)(i). Combined with the substantial
      sentences the defendants already had served at the time of their
      motions – from 17 to 25 years – that meant that each defendant had
      spent close to or more than half his life in prison. And during that
      time, as the district courts explained, each defendant had established
      excellent institutional records and taken substantial steps toward
      rehabilitation.

Id. at 286 (internal citations omitted).

      Here, although Williamson is no longer subject to a mandatory life sentence

or designated as a career offender under the Sentencing Guidelines, the impact of

these changes to his sentence is not “exceptionally dramatic” like the nearly

twenty to thirty years difference in sentences for the defendants in McCoy.

Williamson was sentenced to life in prison which was commuted to 360 months in



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       Case 1:06-cr-00474-NCT Document 405 Filed 07/22/21 Page 9 of 12
2017. In response to his § 3582(c)(1)(A)(i) motion, the United States Probation

Office recalculated his Guideline sentence, without the statutory enhancement or

the career offender designation, to be 292 to 365 months. (Mem. (Feb. 24, 2021)

[Doc. #396].) It cannot be said that this difference is an “exceptionally dramatic”

one. 4

         In addition, Williamson’s age and criminal history at the time of the instant

offense differ from the McCoy defendants. Williamson was in his late twenties

into his early thirties when he participated in the conspiracy. His criminal history at

the time included felony convictions for offenses similar to the instant offense

conduct – possession with intent to sell and deliver cocaine (age 18), third degree

possession of cocaine (age 18), and maintain vehicle/dwelling/place for controlled

substance, attempt to traffic by possessing, possession with intent to sell and

deliver cocaine, and attempt to traffic-transporting (age 24). (Presentence Report

¶¶ 40, 41, 44.) Williamson received a sentence of twelve to fifteen months’

imprisonment for the latter set of offenses, but remained undeterred and, instead,

developed a more sophisticated cocaine distribution business spanning several

countries and states.

         As the Court recently recognized, though, Williamson has done well while in

the custody of the Bureau of Prisons.




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  Nor would it be “exceptionally dramatic” even if Williamson were not enhanced
for being a manager or supervisor. His Guideline range would be 235 to 293
months.
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         Case 1:06-cr-00474-NCT Document 405 Filed 07/22/21 Page 10 of 12
      To his credit and as he previously argued, he has committed only one
      disciplinary infraction, and that was in 2009. He completed 426
      hours of education courses between 2009 and 2018 and his GED in
      2010. He is assigned to work in the Central Tool Room, “a security
      based job” that “requires passing an internal investigation and
      background check” according to Williamson. His April 14, 2021
      Individualized Needs Plan included with his motion to amend notes
      that he “receives good work reports from his detail supervisor”, “has
      been participating in the Resolve Program and [has] almost completed
      it”, “has requested to be enrolled in the Non-Residential Drug
      Program”, “is currently enrolled in a Post Secondary Canine Specialist
      class”, “currently has saved $500.00 in his pre-release account as
      recommended”, and “has maintained clear conduct.” This review
      shows marked improvement in Williamson since his May 2019 report
      in which it was stated that “[s]ince last team meeting he has not
      completed any programs due to lack of interest”, he had “declined
      Drug Education classes”, and he had “not saved any money for
      release as recommended due to lack of interest.” (See Mem. Op. &
      Order at 15 [Doc. #394].) In addition, as previously noted, “[i]t is
      apparent from letters he submitted that his family and close friends
      love him, believe in him, and have seen him grow while incarcerated”
      and he appears to have a job awaiting him with All Systems Restored.
      (Id. at 14-15.)

      Williamson’s earning of his GED, employment, and discipline within
      the Bureau of Prisons are commendable, as is his improvement in
      other areas since his May 2019 Individualized Reentry Plan.

(Mem. Order at 7-8.)

      However, these efforts are not themselves extraordinary and compelling.

Nor is an assessment of Williamson’s circumstances including these efforts while

in custody, his age and criminal history at the time of the instant offense, the

changes in the law affecting his statutory and Sentencing Guidelines penalties, and

other “’bases already addressed – . . . disparate sentenc[es] among co-

conspirators, his non-violent background, his low risk of recidivism, his family




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      Case 1:06-cr-00474-NCT Document 405 Filed 07/22/21 Page 11 of 12
circumstances, or COVID-19’[ 5]”. (Id. at 8 (quoting Mem. Op. & Order [Doc.

#394], Mem. Op. & Order [Doc. #397].)

      For the reasons explained in this Memorandum Opinion, IT IS HEREBY

ORDERED that Defendant Rodney Anton Williamson’s pro se Motion to Reconsider,

Pursuant to Rule 59(e) [Doc. #403] is DENIED and Motion to Amend Motion to

Reconsider, Pursuant to Rule 59(e) [Doc. #404] is GRANTED.

      This the 22nd day of July, 2021.

                                           /s/ N. Carlton Tilley, Jr.
                                     Senior United States District Judge




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 As of July 21, 2021, the Bureau of Prisons has administered over 200,000 doses
of the coronavirus vaccines among its facilities, and 133 staff members and 803
out of 985 inmates at FCI Ashland (where Williamson is housed) are fully
vaccinated. Fed. Bur. of Prisons, FCI Ashland,
https://www.bop.gov/locations/institutions/ash/; Fed. Bur. of Prisons, COVID-19
Coronavirus, https://www.bop.gov/coronavirus/. One inmate and one staff
member are reported as presently infected. https://www.bop.gov/coronavirus/.
                                         12



      Case 1:06-cr-00474-NCT Document 405 Filed 07/22/21 Page 12 of 12
